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Noah Horst, OSB No. 076089
Email: noah@lmhlegal.com
Ethan Levi, OSB No. 994255
Email: ethan@lmhlegal.com
Norah Van Dusen, OSB No. 180114
Email: norah@lmhlegal.com
Levi Merrithew Horst PC
610 SW Alder Street, Suite 415
Portland, Oregon 97205
Telephone: (971) 229-1241
Facsimile: (971) 544-7092

Attorneys for Defendant



                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

UNITED STATES OF AMERICA,                             Case No. 3:23-mj-00185

               Plaintiff,
                                                      UNOPPOSED MOTION TO
       vs.                                            CONTINUE GRAND JURY REPORT
                                                      AND ARRAIGNMENT DATE
JOSEPH DAVID EMERSON,

                Defendant.


       Comes now Defendant Joseph David Emerson, by and through his attorneys, Noah Horst,

Ethan Levi, and Norah Van Dusen, and moves this Court for an Order to Continue the Grand

Jury report due date and arraignment date beyond 30 days. The current report due date is June

25, 2024, and the parties would like to continue the due date and arraignment to August 20, 2024.

       I have discussed with Mr. Emerson his right to be indicted within 30 days of his arrest

under 18 U.S.C. § 3161(b). Mr. Emerson understands his rights and knowingly waives his right

to be arraigned within 30 days.


 UNOPPOSED MOTION TO CONTINUE GRAND JURY REPORT                    LEVI MERRITHEW HORST PC
 AND ARRAIGNMENT DATE - 1                                          610 SW ALDER ST. SUITE 415
 (Case No. 3:23-mj-00185)                                              PORTLAND, OR 97205
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       Mr. Emerson is presently out-of-custody.

       The Assistant United States Attorney assigned to this matter, Parakram Singh, does not

oppose this motion to continue.

       DATED this 21st day of June, 2024.

                                            By:    s/ Ethan Levi
                                            Ethan Levi, OSB No. 994255
                                            Of Attorneys for Defendant




 UNOPPOSED MOTION TO CONTINUE GRAND JURY REPORT                 LEVI MERRITHEW HORST PC
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